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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
                                    )
KIMBERLY KATORA BROWN, et al., )
                                    )
            Plaintiffs,             )
v.                                  )
                                    )
GOVERNMENT OF THE                   )              Civil Action No. 13-00569 (CRC)
DISTRICT OF COLUMBIA,               )
                                    )
            Defendant.              )
___________________________________ )

                                NOTICE OF APPEARANCE

       The Clerk will kindly note the appearance of Assistant Attorney General Fernando

Amarillas as counsel for Defendant the District of Columbia in the above-captioned matter.

DATE: July 24, 2015                 Respectfully submitted,

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